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          EXHIBIT B
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                      NYC ONLY: Team Member File Maintenance Form
Team Member Name: _______________________________ Orientation Completed On: ______________________

Manager Completing Orientation: ______________________ Position Hired for: _____________________________
    Team Member: completes Employee, Emergency and W4 Tab in MenuLink
    Manager: completes I9 in FormI9 compliance and submits to E-verify; Hiring manager verifies completion in
      Menulink
    Manager: sends to payroll: State specific W4 withholding sheet
    Driver Safety and Obligation Agreement completed by all Shift Leaders and Managers (keep in file)
    Starting 10/1/2017, distribute Pay Card Packet; enroll team member, email payroll@smashburger.com
    Complete NY Sexual Harassment Training via thesmashconnection.com
    Smashburger Arbitration Agreement and Class Action Waiver – sign two copies; retain one in employee file

                                                       Administration
 Date        Mgr       New Hire Paperwork
           Initials
                       Confirm in iCIMS: Application for employment on file
                       Interview Rating Form
                       Employee Information Sheet
                       – w/ availability complete
                       Federal W4 Form
                       NY State Withholding Form (send to payroll@smashburger.com)
                       NY State Certificate of Exemption (if applicable)
                       NY Notice of Pay (give copy of completed form to TM; keep original in file)
                       Good Faith Estimate (give copy of completed from to TM; keep original in file)
                       Confidentiality and Non-Disclosure
                       Smashburger Arbitration Agreement and Class Action Waiver – sign two copies; retain one in
                       employee file
                       Sexual Harassment Policy – NY State; complete NY Sexual Harassment Training via
                       thesmashconnection.com
                       Team Member Handbook Acknowledgement Form
 Date        Mgr       Performance Management
           Initials
                       Performance Reviews (identify individual dates completed below)

                       Employee Counseling Forms (identify individual dates completed below)
                                                  Position Specific Forms
 Date    Mgr           Shift Leader (AM and GM Folders should be retained in corporate office)
         Initials
                       Confirm Background Check complete
                       Driver Safety and Obligation (SL or Manager only)

Team members get hard copies of the following (to take with them):
    State Specific Forms: Copy of completed NY Notice of Pay
    Copy of Good Faith Estimate
    Signed copy of Smashburger Arbitration Agreement and Class Action Waiver
    Direct Deposit and The Work Number Pamphlet
    Affordable Care Act (ACA) Notice

*Retain Employee Folder for the entirety of employment. If employee transfers, please ensure folder follows employee
to new location. If employee terminates, retain folder at restaurant for 3 months after termination date then send folder
to ATTN: HR Department, 3900 E. Mexico Ave, Suite 1100, Denver, CO 80210
                                                                                                           2.2019
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       Benefits Facts Sheet
       Confidential Hotline Reporting Tool: Lighthouse
       Notice of Employees Rights
       Right to Predictable Work Schedule
       Contributions to Non Profit
       NY Sexual Harassment Policy
       Team Member Handbook

File Completed by: __________________________________________ Date: _______________




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to new location. If employee terminates, retain folder at restaurant for 3 months after termination date then send folder
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                                                                                                           2.2019
